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 9
10                           UNITED STATES BANKRUPTCY COURT

11                                    DISTRICT OF ARIZONA
12
     In re                                      Chapter 11
13
     DAVID K. CROWE and                         No. 4:19-bk-04406-BMW
14
     COLLEEN M. CROWE,
15
                                 Debtors.
16
17
18   AMENDED DISCLOSURE STATEMENT IN SUPPORT OF AMENDED CHAPTER
19          11 PLAN OF REORGANIZATION DATED AUGUST 14, 2019
          PROPOSED BY DAVID K. CROWE AND COLLEEN M. CROWE
20
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 1   I.     INTRODUCTION1
 2          David K. Crowe and Colleen M. Crowe (“Debtors” or “Proponent”) are the debtors
 3   in a Chapter 11 bankruptcy case. On April 12, 2019, the Debtors commenced a bankruptcy
 4   case by filing a voluntary Chapter 11 petition under the Bankruptcy Code. This document is
 5   the Amended Disclosure Statement in Support of the Amended Chapter 11 Plan of
 6   Reorganization Dated August 14, 2019 Proposed By David K. Crowe And Colleen M.
 7   Crowe (the “Amended Disclosure Statement”), and it is provided to help you understand the
 8   Amended Chapter 11 Plan of Reorganization Dated August 2, 2019 Proposed By David K.
 9   Crowe And Colleen M. Crowe (the “Amended Plan”) filed separately with the Court and
10   attached as Exhibit 1.
11          Under the Bankruptcy Code, the Debtors, and under some circumstances, creditors
12   and other parties in interest, may propose a plan. The plan may provide for the Debtors to
13   reorganize their debts, to liquidate by selling assets of the estate, or a combination of both.
14   The Debtors are proposing the Amended Plan sent to you along with this document.
15          The Debtors propose a reorganizing plan. The Debtors will make payments under the
16   Plan over time from their exempt assets, and from a new business venture. Mr. Crowe is
17   employed by EnerTech-AI Texas, LLC (“EnerTech-AI”). As an employee, Mr. Crowe will
18   be paid a salary of $200,000.00 per year. This salary will allow the Debtors to make their
19   Plan payments. Additionally, the Debtors will pledge $50,000.00 of their otherwise exempt
20   assets to make Effective Date payments. The Effective Date of the proposed Amended Plan
21   is thirty days from an Order confirming the Amended Plan. If there are no objections to the
22   Amended Plan, the Effective Date is anticipated to be October 31, 2019.
23
24
25
     1
       Unless otherwise indicated, capitalized terms herein correspond with capitalized terms in
26   the Amended Plan.
                                                     1
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 1          A.     Purpose of this Document
            This Amended Disclosure Statement summarizes what is in the Amended Plan. It
 2
     also provides information relating to the Amended Plan and the process the Bankruptcy
 3
     Court follows to determine whether or not to approve the Amended Plan.
 4
 5
      READ THIS AMENDED DISCLOSURE STATEMENT CAREFULLY TO LEARN
 6
             (1)    WHO CAN VOTE FOR OR AGAINST THE PLAN;
 7
             (2)    WHO CAN OBJECT TO THE PLAN;
 8
             (3)    THE PROPOSED TREATMENT OF YOUR CLAIM, i.e. what you will
 9
      receive if the Plan is confirmed, AND HOW THIS TREATMENT COMPARES TO
10
      WHAT YOU WOULD RECEIVE IN A CHAPTER 7 LIQUIDATION;
11
             (4)    THE HISTORY OF DEBTOR AND SIGNIFICANT EVENTS
12
      DURING THE BANKRUPTCY;
13
             (5)    WHAT THE BANKRUPTCY COURT WILL CONSIDER WHEN
14
      DECIDING WHETHER OR NOT TO CONFIRM THE PLAN;
15
             (6)    THE EFFECT OF CONFIRMING THE PLAN; AND
16
             (7)    FEASIBILITY OF THE PLAN.
17
18          Be sure to read the Amended Plan as well as the Amended Disclosure Statement. If

19   there are any inconsistencies between the Amended Plan and the Amended Disclosure

20   Statement, the Amended Plan provisions will govern. This Amended Disclosure Statement

21   cannot tell you everything about your rights in this case. You should consider consulting

22   with a lawyer to obtain advice on how the Amended Plan will affect you and what is the

23   best course of action for you.

24          This Amended Disclosure Statement is provided to each creditor whose claim has

25   been scheduled by Debtors or who has filed a proof of claim against Debtors. Under the

26
                                                  2
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 1   Code, your acceptance of the Amended Plan may not be solicited unless you receive a copy
 2   of this Amended Disclosure Statement.
 3          Bankruptcy Code §1125 requires a disclosure statement to contain “adequate
 4   information” concerning the plan. The term “adequate information” is defined as,
 5   “information of a kind, and in sufficient detail,” about a debtor and its operations “that
 6   would enable a hypothetical reasonable investor typical of holders of claims or interests” of
 7   the debtor to make an informed judgment about accepting or rejecting the Amended Plan.
 8   See 11 U.S.C. §1125(a)(1).
 9          B.     Confirmation Procedures
10          Persons Potentially Eligible to Vote on the Amended Plan:
11          In determining acceptance of the Amended Plan, votes will only be counted if
12   submitted by a Creditor whose Claim (1) is scheduled by Debtors as undisputed, non-
13   contingent, and unliquidated, (2) was filed prior to the hearing on confirmation of the
14   Amended Plan and to which no objection has been filed, (3) has been temporarily allowed
15   by the Bankruptcy Court for voting purposes, or (4) has been allowed by the Court. The
16   Ballot Form you received does not constitute a proof of claim. The Clerk of the Bankruptcy
17   Court will not provide this information by telephone.
18          THE BANKRUPTCY COURT HAS NOT YET CONFIRMED THE PLAN
19   DESCRIBED IN THIS AMENDED DISCLOSURE STATEMENT. IN OTHER WORDS,
20   THE TERMS OF THE PLAN ARE NOT YET BINDING ON ANYONE. IF, HOWEVER,
21   THE BANKRUPTCY COURT LATER CONFIRMS THE PLAN, THEN THE PLAN
22   WILL BE BINDING ON DEBTORS AND ON ALL CREDITORS IN THIS CASE.
23          C.     Disclaimers
24          The financial data relied upon in formulating the Amended Plan is based on the
25   records and opinions of the Debtors as well as their knowledge of the debts. The information
26
                                                    3
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 1   contained in this Amended Disclosure Statement is provided by the Debtors. The Proponent
 2   represents that everything stated in this Amended Disclosure Statement is true and correct to
 3   the best of Debtors’ knowledge. No other statements or information are authorized except as
 4   contained in this Amended Disclosure Statement.
 5         BECAUSE THE DEBTORS EXPRESS NO TAX ADVICE, IN NO EVENT WILL
 6   THESE DEBTORS OR THEIR PROFESSIONAL ADVISORS BE LIABLE FOR ANY
 7   TAX CONSEQUENCES OF THE PLAN. CREDITORS MUST LOOK SOLELY TO AND
 8   RELY SOLELY UPON THEIR OWN ADVISORS AS TO THE TAX CONSEQUENCES
 9   OF THE PLAN.
10         NO REPRESENTATIONS CONCERNING ANY OF THESE DEBTORS OR THE
11   PLAN ARE AUTHORIZED OTHER THAN AS SET FORTH IN THIS AMENDED
12   DISCLOSURE STATEMENT. ANY REPRESENTATIONS OR INDUCEMENTS TO
13   OBTAIN YOUR ACCEPTANCE OF THE PLAN OTHER THAN AS CONTAINED
14   HEREIN SHOULD NOT BE RELIED UPON. THE INFORMATION CONTAINED
15   HEREIN HAS NOT BEEN AUDITED. THE DEBTORS ARE UNABLE TO REPRESENT
16   THAT THE INFORMATION HEREIN IS WITHOUT ANY INACCURACY,
17   ALTHOUGH THE INFORMATION DISCLOSED IS ACCURATE TO THE BEST OF
18   THE DEBTORS’ KNOWLEDGE, INFORMATION, AND BELIEF.
19         THE BANKRUPTCY COURT HAS NOT VERIFIED THE ACCURACY OF THE
20   INFORMATION CONTAINED HEREIN, AND THE COURT’S APPROVAL OF THIS
21   DISCLOSURE STATEMENT DOES NOT IMPLY THAT THE COURT ENDORSES OR
22   APPROVES THE PLAN, BUT ONLY THAT IF THE INFORMATION IS ACCURATE,
23   IT IS SUFFICIENT TO PROVIDE AN ADEQUATE BASIS FOR CREDITORS TO
24   MAKE AN INFORMED DECISION WHETHER TO ACCEPT OR REJECT THE PLAN.
25         In addition to the disclosures the Debtors make herein, included as Exhibit 6 are
26   Controverting Statement of Turbine Powered Technology, LLC (Dkt. 132) and the Official
                                                  4
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 1   Committee of Unsecured Creditors’ Controverting Statements to Debtors’ Amended
 2   Disclosure Statement (Dkt. 133).
 3   PLEASE NOTE THAT THE APPROVAL OF THIS AMENDED DISCLOSURE
 4   STATEMENT BY THE BANKRUPTCY COURT DOES NOT CONSTITUTE A
 5   RULING ON THE MERITS, FEASIBILITY, OR DESIRABILITY OF THE PLAN.
 6   II.    BACKGROUND
 7
            A.     Description of Debtors’ Employment and/or Business
 8          Mr. David Crowe is a control engineer in the business of designing, installing, and
 9   fine-tuning control systems for turbine engines used for aviation, and other industrial
10   applications, including oil and gas production by hydraulic fracturing. He is an owner and
11   Chief Executive Office of Arizona Turbine Technology, Inc. and CE-Systems, Inc. (“CE-
12   Systems). He has committed himself full-time to these businesses and as recently as 2017
13   was making in excess of $130,000.00 per year from his work. At the time of the bankruptcy
14   filing, David Crowe was unemployed. Since the bankruptcy filing, Mr. Crowe began
15   employment at EnerTech-AI where he is making $200,000.00 per year. Mrs. Colleen Crowe
16   is not currently employed.
17          Mr. Crowe’s employment with Arizona Turbine Technology, LLC ended prior to the
18   Petition Date. He received one post-petition payment for pre-petition work. He then began
19   his employment with his current employer. As Mr. Crowe testified at his 341 creditors
20   meeting, CE-Systems transferred certain technology to EnerTech-AI for CE-Systems’
21   interest in EnerTech-AI. The other members also transferred certain assets. EnerTech-AI
22   then received a $2,550,000.00 loan. As a result, EnerTech-AI has adequate funds available
23   to operate and pay Mr. Crowe his salary, but as a start-up is not believed to have equity in
24   excess of its debt.
25
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                                                   5
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 1          B.     Events Leading to Chapter 11 Filing
            On January 6, 2017, the 16th Judicial District Court for the Parish of West St. Mary
 2
     in Louisiana entered an injunction by default against Arizona Turbine Technology, Inc.,
 3
     Arizona Turbine Technology, LLC, and four other Defendants (Kent Ellsworth, Kenneth
 4
     Braccio, Advanced Turbine Services, and Turbine Integrated Power Solutions). Notably, the
 5
     Debtors are not named as enjoined parties. The Order Granting Preliminary Injunction is
 6
     attached as Exhibit 2 and provides, in summary, that certain Defendants are enjoined and
 7
     restrained from actions that breach the following agreements and that concern software
 8
     and/or hardware for industrial turbine engine controls for T-55 and TF40 engines,
 9
     particularly for use in hydraulic fracturing equipment:
10
11                       Vendor Agreement by and between Advanced Turbine Services
                          and Turbine Powered Technology, LLC;
12
13                       Employment Agreement and Non-Disclosure Agreement between
                          Turbine Powered Technology, LLC and Kenneth Braccio;
14
15                       Non-Disclosure Agreement between Green Field Energy Services,
                          Inc. and Tucson Embedded Systems, Inc.; and
16
17                       Turbine Driven Equipment License Agreement between Turbine
                          Powered Technology, LLC and Green Fields Energy Services, Inc.
18
19          Turbine Powered Technology, LLC (“Turbine Powered Technology”) has suggested
20   the Debtors’ proposed plan is not feasible because it relies upon use of Turbine Powered
21   Technology’s trade secrets. Turbine Powered Technology was invited to describe their trade
22   secrets to accompany this Disclosure Statement and Turbine Powered Technology elected
23   not to include any description of its trade secrets.
24          Although David Crowe, who is a Defendant in the lawsuit, was not named in the
25   injunction or enjoined from any actions except in his role as an officer and then employee of
26   Arizona Turbine Technology, Mr. Crowe’s business was stopped as no third-parties would

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 1   do business with him. Significant contracts were cancelled, and projects were halted out of
 2   fear of the injunction. As a result, the Crowe’s family income was reduced to $30,384.62 in
 3   2018. The Crowes have decimated their savings and have not been able to pay their
 4   obligations including unsecured creditors, legal bills, and taxes as they come due. In danger
 5   of defaulting on their mortgages and car loans, the Debtors filed bankruptcy.
 6          Since the filing, David Crowe was employed by EnerTech-AI. David Crowe’s
 7   employment at EnerTech-AI depends in part on his ability to devise and deploy digital
 8   controls use in turbine-powered hydraulic fracturing in oil and gas production. The salary of
 9   $200,000.00 per year will allow Mr. Crowe to pay back allowed unsecured claims and to
10   pay at least his disposable income for five years and receive a discharge.
11          The Debtors are Plaintiffs and Defendants in several pending matters described in
12   detail below. The breach of contract, breach of good faith and fair dealing, breach of
13   fiduciary duty, fraudulent conveyance, interference with contract, fraudulent concealment,
14   fraudulent misrepresentation, and defamation by third parties have caused damages to the
15   Debtors which have also prevented the Debtors from being able to pay their obligations
16   current. As and when recoveries are made in such pending litigation, proceeds will be used
17   to repay creditors.
18          CE-Systems transferred certain technology to EnerTech-AI for CE-Systems’ interest
19   in EnerTech-AI. For a detailed description of the transferred technology and additional
20   information, please refer to Sections II.A., II.C.4., and II.D.
21          On April 2, 2019, Jeremy Nicolaides lent $1,575.00 to the Debtors who, in exchange,
22   granted Mr. Nicolaides a UCC security interest in a Hyster Lift Truck that is valued at
23   $8,000.00. The UCC was filed with the Arizona Secretary of State on April 3, 2019.
24          On April 2, 2019, Kenneth Braccio, Michael Sherwood, and Elden Crom lent
25   $20,000.00 to the Debtors who, in exchange, granted Mr. Braccio, Mr. Sherwood, and Mr.
26
                                                     7
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 1   Crom a UCC security interest in various tools, equipment, and furniture. The UCC was filed
 2   with the Arizona Secretary of State on April 3, 2019.
 3          C.     Significant Events During the Bankruptcy
 4                  1.    Bankruptcy Proceedings
 5          This Amended Disclosure Statement and Amended Plan are being filed pursuant to
 6   representations made by the Debtors in their Response To Objections To Disclosure
 7   Statement Filed By: 1) Turbine Powered Technology, LLC, 2) Official Committee Of
 8   Unsecured Creditors, and 3) Lindsay Brew (See Docket No. 112), the representations made
 9   to the Court at hearing on July 17, 2019, and the direction of the Court in its Order for an
10   Amended Disclosure Statement (See Docket No. 114).
11          The Debtors filed a Periodic Report Regarding Value, Operations and Profitability
12   of Entities in Which the Estate Holds a Substantial or Controlling Interest and an errata
13   thereto. (Docket Nos. 42 and 78). These filings include detail about the assets and affairs of
14   the entities owned by the Debtors. The Debtors file their Operating Reports each month.
15   (Docket Nos. 38, 82, 117) The Debtors filed their schedules at the same time as the Petition
16   and they subsequently amended them to note the existence of their family trust created for
17   estate planning purposes. (Docket Nos. 1, 25, 26, 83) There are no assets in the family trust
18   that were not originally listed on the Debtors’ schedules.
19          Turbine Powered Technology has filed an adversary complaint against the Debtors
20   alleging willful and malicious injury; embezzlement and larceny; fraud; and material, willful
21   false statements by Debtors. The complaint restates many of the claims asserted in the
22   lawsuit brought in Louisiana for which the preliminary injunction was issued. The
23   complaint has not been served upon the Debtors. The Debtors dispute the allegations in the
24   Complaint.
25
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                                                    8
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 1                        A.      Employment of Professionals.
 2          The Debtors obtained court approval of the employment of Mesch Clark Rothschild
 3   as bankruptcy counsel. After hearing on objections to Meade Young, LLC’s (“Meade
 4   Young”) employment and additional disclosure, the Debtors obtained court approval of the
 5   employment of Meade Young as special counsel to represent them in the following cases
 6   currently being litigated in Louisiana and Arizona, with fees and costs to be paid on a
 7   contingency subject to further order by this Court:
 8
                   1.     Arizona Turbine Technology, Inc., et al. v. Turbine Powered
 9                        Technology, LLC, et al., W.D. La. Civil Action No. 2017-386;
10
                   2.     Turbine Powered Technology, LLC v. David Crowe, et al.,
11                        W.D. La. Civil Action No. 2017-801, removed from the 16th
                          JDC for the Parish of West St. Mary, State of Louisiana, No.
12                        130379; and
13
                   3.     Crowe et ux. v. Tucson Embedded Systems, Inc., et al. Pima Co.
14                        Superior Court, Tucson, Arizona, No. C-2017-4933.
15          Meade Young represents Debtor David Crowe, Ken Braccio, Advanced Turbine
16   Services, LLC, and Arizona Turbine Technology, Inc. under a 40% contingency-fee
17   contract and joint representation agreement.
18          Meade Young has subcontracted with Taylor Townsend to assist in the above
19   pending litigation. In that role, Meade Young is entirely responsible for all fees and costs
20   incurred by Mr. Townsend. The Debtors are not, and never will be, responsible for fees and
21   costs incurred by Mr. Townsend. As a subcontractor to Meade Young, Mr. Townsend also
22   represents Debtor David Crowe as well as co-parties Kenneth Braccio and Arizona Turbine
23   Technology, Inc., creditors of the Debtors. The fee agreement between Meade Young and
24   Mr. Townsend provides that Mr. Townsend will share in the Meade Young 40%
25   contingency fee.
26
                                                    9
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 1          The Committee (as described below) obtained court approval to employ the law firm
 2   of Jennings, Strouss & Salmon, P.L.C. as its counsel. The Debtors have reserved their
 3   rights to object to the fees of Jennings, Strouss, and Salmon, P.L.C. based on concerns in the
 4   formation of the Committee.
 5                        B.      Unsecured Creditors Committee.
 6          The United States Trustee appointed an Official Committee of Unsecured Creditors
 7   (“Committee”). After an amendment, the current members of the Committee are Lindsay
 8   Brew of Miller, Pitt, Feldman & McAnally, Dennis Kenman of Tucson Embedded Systems,
 9   Inc. (“Tucson Embedded Systems”) and Ted McIntyre of Turbine Powered Technology.
10                        C.      Team Vesco Agreement.
11          The Debtors sought court approval for the Debtors to enter into a post-petition
12   agreement for services between EnerTech-AI, David Crowe, and Team Vesco Racing
13   (“Team Vesco”). After hearing, the Court ordered that it will exercise permissive abstention
14   as to the narrow issues raised in the context of the motion: (a) whether Mr. Crowe is subject
15   to the injunction and (b) if so, whether the contract with Team Vesco necessitates the use of
16   the enjoined technology. The Court also ordered that: 1) the Debtors may proceed at their
17   discretion in the state court action2 to obtain such determination and if the Debtors choose
18   not to proceed, the stay as it relates to the Debtors in the state court action remains in place;
19   and 2) in the event the judge in the state court action determines that Mr. Crowe is not
20   subject to the injunction, or even if he is, that the contract with Team Vesco would not
21   require the use of the enjoined technology, then the Debtors may submit a form of order
22   approving the relief requested.
23          To date the Debtors have not sought to proceed further in the state court action for
24   matters related to the Team Vesco Agreement.
25
     2
       Turbine Powered Technology, LLC vs. David Crowe, et al., Case No. 130379 pending in
26   the 16th Judicial District Court for the Parish of West St. Mary in Louisiana.
                                                    10
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 1                        D.      Stay Relief.
 2          The Debtors sought stay relief to pay certain amounts owed to the Arbitrator in an
 3   arbitration between Tucson Embedded Systems and the Debtors (Docket No. 55). Tucson
 4   Embedded Systems filed a limited objection (Docket No. 57). The Debtors and Tucson
 5   Embedded Systems stipulated, in part, to allow the arbitrator to draw down a retainer of
 6   $4,191.75 (Docket No. 98). Tucson Embedded Systems sought stay relief to allow the
 7   arbitrator in a pending action to issue a ruling on a fully briefed and argued Motion for
 8   Summary Judgment. (Docket No. 55).3 The Debtors opposed the requested relief. (Docket
 9   No. 84). The Court ruled that based on the issue before the Court, the stay is not applicable.
10   The Court entered its Order authorizing the Arbitrator to proceed with his ruling on July 29,
11   2019 (Docket No. 124). The Court reserved all parties’ rights as to matters not brought
12   before the Court. As of the date of this Disclosure Statement, the arbitrator has not entered a
13   ruling. The Court did not rule on the Debtors’ related Motion to Compel Turnover filed
14   against Tucson Embedded Systems, which is still pending.
15                        E.      Plan and Disclosure Statement.
16          The Court entered an Order Setting And Notice Of: 1. Hearing To Consider Approval
17   Of Disclosure Statement; and 2. Deadline For Filing Proof Of Claim (Docket No. 49). The
18   Debtors served a copy of the Order, together with the initial Plan and Disclosure Statement,
19   on all creditors and parties in interest. Three creditors objected to approval of the initial
20   Disclosure Statement and the Debtors responded to those objections. After hearing on July
21   17, 2019, the Court entered an Order for Amended Disclosure Statement (Docket No. 114).
22                        F.      Adversary Proceeding
23          On July 22, 2019, Turbine Powered Technology filed an adversary complaint for
24   non-dischargeability for the full amount of their claim of not less than $30,014,536.82
25
     3
      David and Colleen Crowe vs. Tucson Embedded Systems, Inc., Case No. C20174904
26   pending in Pima County Superior Court in Arizona.
                                                    11
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 1   pursuant to 11 U.S.C. §§523(a)(2)(A), 523(a)(4), 523(a)(6) and 727(a)(4). As of this date,
 2   the Complaint has not been served. The Debtors dispute the asserted claims.
 3                  2.    Other Legal Proceedings
 4          In addition to the bankruptcy proceedings discussed above, Debtors are involved in
 5   three significant non-bankruptcy legal proceedings. The Debtors are willing to engage in
 6   mediation on any of these proceedings using the Bankruptcy Court’s Alternative Dispute
 7   Resolution program during the bankruptcy, if not resolved the Debtors intend to pursue all
 8   these claims post-confirmation for the benefit of the Debtors’ Estate:
 9
                   i)     Crowe v. Tucson Embedded Systems, Inc., Dennis and Marisol
10                        Kenman, Sean and Carol Mulholland, Antonio and Shirly
11                        Procopio.

12                        a)      Venue: Arbitration in Pima County, Arizona, before Peter
                                  Collins.
13
14                        b)      Status: Based on the record before the Court, the Court
                                  determined that the stay is not applicable to this action.
15
                          c)      Claims Asserted: Breach of Contract for Purchase Term Sheet
16
                                  - $62,500.00, legal fees, and interest against Tucson Embedded
17                                Systems for failure to pay on Term Sheet; Breach of Contract
                                  (Tucson Embedded Systems), Breach of Covenant of Good
18                                Faith and Fair Dealing (Tucson Embedded Systems), Fraudulent
19                                Conveyance (All Defendants), Interference with Contract (All
                                  Defendants), Fraudulent Conveyance (All Defendants),
20                                Fraudulent Misrepresentation (All Defendants) relating to term
                                  sheet, confidentiality agreement, and concurrent deal made with
21
                                  Turbine Powered Technology – alleged damages
22                                $10,600,000.00 and punitive damages.
23                        d)      If the Debtors are successful as Plaintiffs, this action may
24                                generate proceeds to pay all currently allowed secured and
                                  unsecured claims in full upon collection. If the Debtors are not
25                                successful, there may be attorney’s fees that the Debtors are
                                  required to pay as an unsecured claim against the bankruptcy
26
                                                    12
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 1                            estate.

 2                    e)      When the stay is lifted, this matter will continue to be pursued
                              on a contingency basis, with the attorney advancing costs so the
 3
                              cost to the Estate is minimal, if any.
 4
               ii)    Crowe, et al v. Turbine Powered Technology, LLC, et al.
 5
 6                    a)      Venue: United States District Court Western District of
                              Louisiana, 17-cv-0386.
 7
                      b)      Status: This matter has been stayed as it relates to the Debtors.
 8
 9                    c)      Claims Asserted: The Debtors, along with co-plaintiffs, have
                              brought claims against Turbine Powered Technology, Marine
10                            Turbine Technology, LLC, Ted McIntyre, II, and Evanston
11                            Insurance Company for damages under the Louisiana Unfair
                              Trade Practices Act, for defamation, and for tortious interference
12                            with business expectancy. The Plaintiffs assert damages in an
                              amount not less than $100,000,000.00.
13
14                    d)      If the Debtors, as Plaintiffs, are successful there will be
                              sufficient resources to pay all allowed claims secured and
15                            unsecured claims upon collection.
16
                      e)      When the stay is lifted, this matter will continue to be pursued
17                            on a contingency basis, with the attorney advancing costs so the
                              cost to the Estate is minimal, if any.
18
19             iii)   Turbine Powered Technology, LLC v. Crowe, et al.
20
21                    a)      Venue: United States District Court Western District of
                              Louisiana, 19-cv-0475.
22
                      b)      Case Status: This matter has been stayed as it relates to the
23
                              Debtors.
24
                      c)      Claims Asserted: Indemnification against Tucson Embedded
25                            Systems and Plaintiffs in Reconvention for a wrongful
26                            injunction against Turbine Powered Technology in the amount

                                               13
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 1                                not less than $100,000,000. Additionally, the Debtors may have
                                  or may seek leave of the Bankruptcy Court to amend their
 2                                counterclaims to include a prayer for a declaratory judgment that
                                  the Debtors have not infringed upon patent 078.
 3
 4                        d)      This lawsuit involves multi-million dollar claims by the Plaintiff
                                  against the Defendants and counterclaims by the Defendants
 5                                against the Plaintiff. If the Debtors are successful in their
 6                                counterclaims there will be sufficient funds to pay all claims
                                  secured and unsecured in full. If the Debtors are not successful
 7                                there may be significant damages levied against the Debtors.
                                  Such a damage award would leave insufficient funds including
 8                                the Debtors’ net disposable income and new value contribution
 9                                to pay all creditors in full.

10                        e)      When the stay is lifted, this matter will continue to be pursued
11                                on a contingency basis, with the attorney advancing costs so the
                                  cost to the Estate is minimal, if any.
12
                   3.     Actual and Projected Recovery of Preferential or Fraudulent
13                        Transfers
14          $0.00 is estimated to be realized from the recovery of fraudulent and preferential pre-
15   petition transfers. The Debtors and their professionals are still investigating potential
16   preferential or fraudulent transfers but are not aware of any, as all the Debtors’ payments
17   were made in the ordinary course and no preferences or fraudulent payments are expected.
18   The Debtors’ Statement of Financial Affairs lists all payments made within ninety days of
19   the bankruptcy to creditors or within one year to creditors that are insiders. For additional
20   information, please refer to Sections II.A., II.C.4., and II.D. herein.
21                 4.     Procedures Implemented to Resolve Financial Problems
22          In an effort to remedy the problems that led to the bankruptcy filing, Debtors have
23   undertaken affirmative steps in anticipation of emerging from bankruptcy.
24          Mr. Crowe has ceased employment with Arizona Turbine Technology. Although he
25   remains an owner of that entity, the Debtors are conducting no business through Arizona
26
                                                    14
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 1   Turbine Technology, or on behalf of Arizona Turbine Technology until at least after all
 2   related litigation is resolved.
 3          Mr. Crowe has started employment with EnerTech-AI, in which the Crowes’ entity,
 4   CE-Systems has a 40% ownership interest. The other owners of EnerTech-AI are DFNCM
 5   II, LLC (40%) and Chris Boswell (20%). David Crowe will receive a salary of $200,000.00
 6   per year.
 7          The Debtors will provide 25% of their interest in CE-Systems to Elden Crom - a key
 8   employee of EnerTech-AI.
 9          In exchange for the 40% interest in EnerTech-AI, CE-Systems transferred certain
10   cloud-based software developed after the imposition of the injunction that monitors the
11   performance of certain fracturing pumps. Specifically, CE-Systems transferred cloud based
12   applications that analyze data; window based applications including “Pumpdown,”
13   “MultiPumpMgr” and “Data Scope”; Aviation ATDEC FADEC; “CloudGateway”;
14   “DataCon”; Conventional Pump Control software and hardware designs that match the 10
15   Ecostim Conventional PumpDown Pumps and Industrial Generator packages. The
16   transferred conventional pump controls are standard in the industry and contain no
17   proprietary information. The FADEC (full authority digital engine controller) is modified
18   pursuant to a patent that is pending as no. 62,635,085 and a rapid prototype aviation
19   platform being marketed to Honeywell. Any and all information, practices, or technology
20   claimed by Turbine Powered Technology in its suit against the Debtors remained in CE-
21   Systems and/or Arizona Turbine Technology, and was completely segregated from the
22   future business of EnerTech-AI.
23          Enertech-AI intends to develop controls to utilize natural gas as a transition fuel to
24   reduce the carbon footprint of turbines used in the hydraulic fracturing for oil and gas
25   production and other industrial uses. Enertech-AI also intends to work on improvements to
26   engine controls used in the aviation industry, then further develop such controls for various
                                                   15
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 1   industrial uses. Enertech-AI has not and will not use any technology owned by any of the
 2   Defendants in the lawsuit described above, Turbine Powered Tech. LLC v. Crowe et al,
 3   Western District of Louisiana, 19-475. In addition to others, EnerTech-AI intends to
 4   purchase T53 generators and turbine services and parts for the oil and gas industry from
 5   John Arruda and Turbine Marine, Inc. EnerTech-AI will upgrade these units with their
 6   existing cloud enabled turbine controls for deployment.
 7          As David Crowe is not an enjoined Defendant, Enertech-AI has, and since David
 8   Crowe was employed, will continue to develop digital controls for turbine-powered
 9   hydraulic fracturing equipment and other industrial equipment. Enertech-AI will sell,
10   transfer or use hydraulic fracturing equipment and computer programs related to several
11   turbine engines including but not limited to T53, TF40 or T-55 digital control systems.
12   EnerTech-AI will perform services and provide goods related to turbine engine controls for
13   hydraulic fracturing including but not limited to T-55 and/or TF40 engines. This includes
14   using, selling, transferring and disclosing information, goods and/or services which contain
15   or are based on the TF40 and/or T-55 engine controls including controllers, FADECs,
16   electronic fuel valves, digital industrialized controls and mechanical or analytical work, and
17   engineering/customer support associated with the aforementioned controls and engines.
18          EnerTech-AI will work with and sell engines packages that use digital controls with
19   electronic fuel valves and industrial digital engine controllers for industrialized non-aero
20   and aero use and controls related to hydraulic fracturing and power generation.
21          Enertech-AI will design, lease, and sell new equipment based on turbines for
22   industrial use and the oil and gas industry. These systems will include generators and
23   hydraulic fracturing equipment.
24          EnerTech-AI is not limiting its potential customers.
25
26
                                                   16
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 1           EnerTech-AI will use digital control systems for T53, TF40, or T-55 engines, but
 2   these are not the intellectual property of any other party including any of the other Louisiana
 3   Defendants and Turbine Powered Technology and/or Green Field Energy Services, Inc.
 4           EnerTech-AI will not contact for business purposes or hire any Green Field Energy
 5   Services, Inc.’s management employees.
 6           Except for purchasing non-proprietary turbine engines, turbine engine parts, turbine
 7   services from Kenneth Braccio, Advanced Turbine Services, LLC et al., EnerTech-AI will
 8   not work in concert or participation with any of the enjoined Defendants from the Turbine
 9   Powered Technology, LLC v. Crowe case. The Defendants in the Turbine Powered
10   Technology, LLC v. Crowe case are not enjoined from selling turbines, turbine parts, or
11   turbine services. These procedures for implementing the Amended Plan are proposed in
12   good faith, not by any means forbidden by law.
13                 5.     Current and Historical Financial Conditions
14           The Debtors were current on all obligations until the imposition of the injunction on
15   the Debtors’ business by the Louisiana state court in Turbine Powered Technology, LLC v.
16   Crowe et al, now removed to the Western District of Louisiana. in the Louisiana court. The
17   Debtors have not been able to make some of their required payments to unsecured creditors
18   since the imposition of the injunction.
19           The Debtors have filed will continue to file Monthly Operating Reports prior to
20   Confirmation of the Debtors’ Amended Plan of Reorganization. To review the Debtors’
21   performance post-petition, Creditors should review Monthly Operating Reports filed in this
22   case.
23           D.    Assets of the Debtor
24           As of the Petition Date, the Debtors own a residence located at 3650 W. Camino
25   Christy, Tucson, Arizona 85742 valued at $450,000 based on the estimate of David Crowe
26
                                                   17
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 1   and based on sales of similar houses in the neighborhood. The Debtors own a 2012 MKZ-
 2   Hybrid with 123,000 miles – the Debtors value this vehicle at $3,205, the Debtors own a
 3   2008 Toyota Tacoma with 150,000 miles – the Debtors value this vehicle at $4,000, the
 4   Debtors own a 2016 Toyota Tacoma with 66,000 miles – the Debtors value this vehicle at
 5   $12,469, the Debtors own a non-motorized boat valued at $500, and the Debtors own a
 6   Hyster Lift Truck valued at $8,000. The Debtors also own household goods and furnishings
 7   valued at $3,000, electronics valued at $200, certain workout equipment valued at $250,
 8   wardrobes valued at $500, a wedding ring and costume jewelry valued at $400, six pets with
 9   no material value, cash on the Petition Date of $250, ten bank accounts totaling $66,916,
10   two brokerage accounts with $40,700 and stock in Southwest Airlines of $14,175.48.
11          The Debtors own 100% of CE-Systems which owns 40% of EnerTech-AI. CE-
12   Systems also owns a Turbine Pump Controller for use in hydraulic fracing operations
13   subject to a license with Arizona Turbine Technology and an iTpc Turbine Controller for
14   use in hydraulic fracing operation subject to a license with Arizona Turbine Technology.
15   These two assets contain information that is subject to the pending litigation in Louisiana
16   and were excluded from the transfer to EnterTech-AI.
17          The assets of EnerTech-AI include trailer mounted turbine-driven high-pressure
18   pumps for use in hydraulic fracturing for oil and gas operations. An adverse party in the
19   litigation discussed in this Amended Disclosure Statement, Turbine Powered Technology,
20   claims these systems as its exclusive trade secrets in the lawsuits described above. However,
21   the units now owned by Enertech-AI were sold pursuant to a different bankruptcy court
22   process, free and clear of all liens, claims and interests.
23          The Debtors own 100% of Arizona Turbine Technology whose assets include
24   licenses from CE-Systems to sell digital control systems and litigation claims. Arizona
25   Turbine Technology’s other assets are counter-claims against Turbine Powered Technology
26
                                                     18
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 1   both for monetary relief and also seek declaratory relief with regards to claims to ownership
 2   of technology used by the Debtors’ companies.
 3          The Debtors own 100% of Vida Gasline, LLC, which assets consist of $13,000.00 in
 4   liquid assets and $25,000.00 in real estate. The real estate value is based on the Debtors
 5   opinion of value and based on the closest active listing for vacant land as well as
 6   comparable sales. The liabilities are $0.00.
 7          The Debtors have three retirement accounts with a value totaling $510,386.56. The
 8   Debtors claim an exemption for all such value.
 9          The Debtors have claims against Tucson Embedded Systems including but not
10   limited to $62,500.00 pursuant to a buy-out and for reimbursement for attorneys’ fees of
11   $28,212.50. The Debtors have numerous other claims against Tucson Embedded Systems
12   that remain subject to litigation in contract and tort.
13          The Debtors also may have claims against Lindsay Brew for breach of fiduciary duty
14   and perjury related to an affidavit filed in the Tucson Embedded Systems action prior to it
15   being referred to arbitration.
16          The business values herein are based on the Debtors opinion and their knowledge of
17   the debts and assets of each business.
18   III.   SUMMARY OF THE PLAN OF REORGANIZATION
19          The Amended Plan classifies Claims in various Classes. The Amended Plan states
20   whether each Class of Claims is Impaired or Unimpaired. The Debtors attach hereto as
21   Exhibit 3 an analysis of filed proofs of claim and scheduled liabilities. The Amended Plan
22   provides the treatment each Class will receive as follows:
23
24
25
26
                                                     19
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 1          A.      Non-Voting Classes
            Certain types of Claims are not entitled to vote. They are not considered Impaired
 2
     and they do not vote on the Amended Plan because they are entitled to specific treatment
 3
     provided for them under the Bankruptcy Code.
 4
                     1.   Class 1—Administrative Expenses and Fees
 5
 6          Administrative Expenses are Claims for costs or expenses of administering Debtors’

 7   Chapter 11 case, which are allowed under Bankruptcy Code §503(b). Fees payable to the

 8   Clerk of the Bankruptcy Court and the Office of the United States Trustee were also

 9   incurred during the Chapter 11 Case and are considered Administrative Expenses.

10          The Bankruptcy Code requires that all administrative expenses be paid on the

11   Effective Date of the Amended Plan, unless a particular claimant agrees to different

12   treatment. The Bankruptcy Court must approve all professional compensation and expenses.

13          Each Professional Person requesting compensation in the case pursuant to

14   Bankruptcy Code §§327, 328, 330, 331, 503(b) and/or 1103 shall file an application for

15   allowance of final compensation and reimbursement of expenses not later than sixty (60)

16   days after the Confirmation Date.

17          Nothing herein shall prohibit each Professional Person from requesting interim

18   compensation during the course of this case pending Confirmation of the Amended Plan. No

19   motion or application is required to fix fees payable to the Clerk’s Office or the Office of

20   the United States Trustee, as those fees are determined by statute.

21          The Administrative Claims to be paid on the Effective Date, or as otherwise agreed

22   by such Claimants are anticipated to total approximately $125,000.00 and are broken down

23   as follows:

24
                   Description                                                  Estimate
25
                   Debtors’ Estimated Administrative Attorneys’               $50,000.00
26                 Fees and Costs After Applying Retainer
                                                   20
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 1                  Debtors’ Estimated Adversary Attorney Fees and            $50,000.00
                    Costs
 2
                    Debtors’ Estimated Administrative Case U.S.                $1,300.00
 3                  Trustee Quarterly Fees
 4                  Committee’s Estimated Administrative Case                $25,000.004
                    Attorneys’ Fees and Costs
 5                  Estimated Total                                          $126,300.00
 6
              B.      Classified Claims
 7
                      1.    Classes of Secured Claims
 8
              Secured Claims are Claims secured by liens on property of the estate.
 9
              The following represents all Classes containing pre-petition Secured Claims and their
10
     treatment under the Amended Plan.
11
                     Class 2—Secured Claim of Quicken Loans Against Residence
12
13                                             Description of
         Class     Name of Creditor                                      Payment Terms
14                                               Collateral
          2        Quicken Loans          3650 W. Camino Christy,   Monthly principal and
15                                        Tucson, Arizona 85742     interest according to loan
                                                                    terms--Unchanged from
16                                                                  contractual terms
17            Quicken Loans holds a valid first position purchase money lien against the Debtors’
18   residence located at 3650 W. Camino Christy, Tucson, AZ 85742 in the approximate
19   amount of $140,167.76.
20            The Class 2 claim of Quicken Loans will be allowed in its outstanding amount and
21   repaid according to its terms. This Creditor’s legal, equitable, and contractual rights
22
23
24   4
      This is an estimate from the Debtors as to reasonable fees and costs for Committee
25   Counsel. Committee Counsel provided an estimate of fees and costs totaling $100,000,
     which the Debtors do not believe reasonable, and reserve all rights to contest reasonableness
26   of if later asserted in that amount.
                                                    21
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 1   remain unchanged with respect to the above collateral. Quicken Loans will continue to be
 2   paid according to its contractual terms, with no changes, until paid in full.
 3               The Class 2 Quicken Loans Secured Claim is not Impaired and is not entitled to
 4   vote.
 5
                            Class 3—Secured Claim of USAA Against Residence
 6
      Class         Name of Creditor      Description of Collateral       Payment Terms
 7
        3          USAA                   3650 W. Camino Christy, Monthly principal and
 8                                        Tucson, Arizona 85742     interest at 5% per annum,
                                                                    amortized over 15 years
 9
                 USAA holds a valid second position lien against the Debtors’ residence located at
10
     3650 W. Camino Christy, Tucson, AZ 85742 in the approximate amount of $120,694.97.
11
     The lien arose from a home equity line of credit. The loan currently calls for monthly
12
     interest only payments and must be renewed annually.
13
                 The Class 3 Claim of USAA will be converted to a fixed rate, fully amortizing loan.
14
     USAA will be repaid, in full, with interest at the rate of 5% per annum. USAA will be paid
15
     monthly principal and interest payments, amortized over a 15-year period.
16
                 The Class 3 USAA Secured Claims is Impaired and entitled to vote.
17
18                       Class 4—Secured Claim of USAA against Toyota Tacoma
19                                                                   Collateral
20                                                Description of     Value and         Payment
        Class            Name of Creditor
                                                   Collateral         Basis of          Terms
21                                                                   Valuation
             4        USAA                      2016 Toyota         $12,469.00       Secured Claim
22                                              Tacoma              (Debtor’s        equal to
23                                                                  Opinion of       current value--
                                                                    Value            Monthly
24                                                                  based on         payments for
25                                                                  wear and         60 months at
                                                                    tear)            5% interest
26
                                                     22
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 1            USAA holds a valid lien against the Debtors’ 2016 Toyota Tacoma in the
 2   approximate amount of $22,967.05. Debtors contend the value of 2016 Toyota Tacoma is
 3   less than the amount of the Claim.
 4            The Class 4 Claim of USAA will be allowed and paid in an amount equal to the value
 5   of the 2016 Toyota Tacoma, as established by Bankruptcy Court order or by stipulation of
 6   the Parties. The Debtors assert the current value is $12,469.00. The Debtors will pay the
 7   allowed Secured Claim in full with interest at a rate of 5% per annum from the Effective
 8   Date through 60 equal monthly payments. Payments will be due on the 15th day of the
 9   month, starting on the first full month following the Effective Date. Any remaining amount
10   due to USAA will be allowed and treated as a General Unsecured Claim and will be treated
11   in Class 8 below.
12            The Class 4 Claim of USAA is Impaired and entitled to vote.
13             Class 5 Secured Claim of Jeremy Nicolaides against Hyster Lift Truck
14                Name of                           Amount      Interest    Monthly
      Class                        Collateral                                             Term
15                Creditor                           Due         Rate       Payment
                Jeremy          Hyster Lift Truck   $1,575.00      5%        $69.10       24
16      5
                Nicolaides      Model H80XM                                              months
17            Mr. Nicolaides holds a valid first position lien against the Hyster Lift Truck Model
18   H80XM in the amount of $1,575.00. Mr. Crowe uses this equipment in the businesses that
19   he owns. The loan calls for monthly interest only payments with the principal payable on
20   demand.
21            The Class 5 Secured claim of Mr. Nicolaides will be allowed and repaid over a fixed
22   term. The Debtors will pay the allowed Secured Claim in full with interest at a rate of 5%
23   per annum from the Effective Date through 24 equal monthly payments. Payments will be
24   due on the 15th day of the month, starting on the first full month following the Effective Date.
25            The Class 5 Claim of Jeremy Nicolaides is Impaired and entitled to vote.
26
                                                    23
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 1      Class 6 Secured Claim of Kenneth Braccio, Michael Sherwood, and Elden Crom
 2               Name of                            Amount        Interest   Monthly
      Class                        Collateral                                          Term
                 Creditor                            Due           Rate      Payment
 3
      Class Kenneth             Welding Table,       $20,000.00     5%       $377.42    60
 4      6   Braccio,            Work Benches,                                          months
              Michael           sensors, air
 5            Sherwood, and     compressor,
              Elden Crom        generator, band
 6                              saw, drill press,
                                grinders, shelving
 7
                                units, refrigerator,
 8                              valves, high
                                volume water
 9                              strainer, 12 CAN
                                communication
10                              hubs (“Tools”)
11          Mr. Braccio, Mr. Sherwood, and Mr. Crom hold a valid first position lien against
12   various tools and equipment owned by the Debtors in the amount of $20,000.00. Mr. Crowe
13   uses this equipment in the businesses that he owns. The loan calls for monthly interest only
14   payments that are due on demand.
15          The Class 6 Secured claim of Mr. Braccio, Mr. Sherwood, and Mr. Crom will be
16   allowed and repaid over a fixed term. The Debtors will pay the allowed Secured Claim in
17   full with interest at a rate of 5% per annum from the Effective Date through 60 equal
18   monthly payments. Payments will be due on the 15th day of the month, starting on the first
19   full month following the Effective Date.
20          The Class 6 Claim of Kenneth Braccio, Michael Sherwood, and Elden Crom is
21   Impaired and entitled to vote.
22                 2.     Classes of Unsecured Claims
23                                   Class 7 Priority Tax Claims
24          Priority Tax Claims are Claims of governmental units for certain income,
25   employment, and other taxes described under Bankruptcy Code §507(a)(8). These Claims
26
                                                   24
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 1   are entitled to priority and must be paid pursuant to Bankruptcy Code §§1129(a)(9)(C) and
 2   (D). These Claims are to be treated as follows:
 3
 4                                                Claimed Amount
        Class            Name of Creditor           Owed and Tax           Payment Terms
 5                                                      Period
           7         Internal Revenue Service    Claim filed for      Repay allowed claim in
 6
                                                 $33,100 for Tax Year full with 5% interest
 7                                               2018                 amortized over 60 equal
                                                                      monthly payments
 8                                                                    (approximately $622.75
 9                                                                    per month).
           7         ADOR                        Claim Filed for      Repay allowed claim in
10                                               $1,728.60            full with 5% interest
                                                                      amortized over 60 equal
11
                                                                      monthly payments.
12             The Class 7 Priority Tax claims consist of any tax amounts owing for tax
13   years 2018. The Debtors filed an extension, so have not yet filed their 2018 tax
14   returns. Such claims will be allowed in amounts owed upon completion of such
15   returns.
16             The Class 7 Allowed Priority Tax Claims of the IRS and the ADOR will be allowed
17   and paid in full along with interest at a rate of 5% per annum from the Effective Date
18   through 60 equal monthly payments. Payments will be due on the 15th day of the month,
19   starting on the first full month following the Effective Date.
20             These Claims are Impaired and Entitled to Vote.
21
                                   Class 8 General Unsecured Claims
22
               General Unsecured Claims are not entitled to priority under Bankruptcy Code
23
     §507(a). General Unsecured Claims include various unsecured obligations, as well as
24
     various obligations arising from ongoing litigation. General Unsecured Claims are only
25
     entitled to be treated under this Class 8 when such claims are allowed, either by agreement
26
                                                    25
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 1   of the Debtors, or a final order which is not subject to appeal, from the Bankruptcy Court.
 2   Total Scheduled and filed general unsecured claims are $30,573,198.66. $30,334,536.82 of
 3   such total represent disputed claims filed by Tucson Embedded Systems and Turbine
 4   Powered Technology. In addition to disputing these claims, the Debtors have asserted
 5   claims against such creditors which will also offset any claim by such parties. The Debtors
 6   believe allowable claims will total less than $200,000.
 7          Allowed Class 8 General Unsecured Claims will be paid from contributions of the
 8   Debtors over a period up to 5 years. Debtors will commit all of their projected non-
 9   disposable income for the next 60 months of $2,456.33 per month to payment of creditors.
10   Such amounts will be used to pay any outstanding administrative expenses, then pay priority
11   unsecured creditors (approximately $657.26 per month), and then distributed pro rata to
12   General Unsecured Creditors. General Unsecured Creditors are expected to receive
13   approximately $107,935.20 plus an Effective Date payment of at least $10,000.00 for a total
14   of $117,935.20. To the extent additional Effective Date cash is available, it will also be paid
15   to General unsecured Creditors.
16          Significant benefit is also contributed through the claim disallowance process related
17   to claims filed by Tucson Embedded Systems and Turbine Powered Technology. In addition,
18   General Unsecured Claims will be paid 25% of all gross proceeds recovered from the
19   claims against Turbine Powered Technology, Tucson Embedded Systems, and Brew, as
20   described in Section II.D above. Allowed General Unsecured Creditors will be paid from
21   quarterly distributions of approximately $5,397.21 per quarter. If the Debtors make a
22   greater payment in any quarter, such overpayment amount will credit against the last
23   payments due under the Amended Plan, such that additional payments shorten the
24   repayment period.
25          General Unsecured Claims will be entitled to a pro rata share of each quarterly
26   distribution. If all General Unsecured Claims are paid in full before $117,935.20 plus 25%
                                                   26
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 1   of gross litigation proceeds are distributed to this class of creditors, payments will continue
 2   as if such claims accrued interest at a rate of 4% per annum from the Effective Date.
 3          To the extent any General Unsecured Claims are not yet allowed, the Debtors will
 4   ask the Court to estimate those claims and the related pro-rata distribution for such claims
 5   will be held in a trust account until those claims are allowed at which time they will be
 6   distributed to the claimholder or disallowed at which time they will be distributed pro-rata
 7   to the remaining allowed claim holders.
 8          Payments will be due on the 15th day following each calendar quarter, starting on the
 9   first full month following the Effective Date. The first and last quarterly payments will be
10   prorated depending on the Effective Date relative to such calendar quarter.
11          Class 8 General Unsecured Claims are Impaired and entitled to vote.
12          C.     Cramdown and Absolute Priority Rule
13          If a Class of Creditors does not accept the Amended Plan, Debtors will seek to obtain
14   Confirmation through the cramdown provisions of Bankruptcy Code §1129(b). This means
15   that the Amended Plan must be fair and equitable to the Class that does not accept the
16   Amended Plan. The test for whether the Amended Plan is fair and equitable is found under
17   Bankruptcy Code §1129(b).
18          The balance of this section only applies if a Class of Unsecured Claims does not
19   accept the Amended Plan. In that instance, Debtors will seek Confirmation of the Amended
20   Plan pursuant to Bankruptcy Code §1129(b). The Absolute Priority Rule is contained in
21   Bankruptcy Code §1129(b)(2)(B).5 If a Class of Unsecured Claims has not voted to accept
22   the Amended Plan, the Absolute Priority Rule provides that Debtors may not retain property
23   unless the holders of Claims in the Class are paid in full or unless a New Value Contribution
24   is paid by the Debtors to aid confirmation of the Amended Plan.
25
     5
       The 9th Circuit Court of Appeals has determined that the Absolute Priority Rule applies to
26   individual chapter 11 cases. See In re Zachary, 811 F. 3d 1191 (9th Cir. 2016).
                                                   27
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 1          As a New Value Contribution, and to aid confirmation of their Amended Plan, the
 2   Debtors will contribute not less than $50,000.00 from other exempt assets and commit all
 3   projected disposable income for five years to pay its creditors.
 4          D.     Acceptance or Rejection of Amended Plan.
 5          Each Impaired Class of Creditors with Claims against Debtors’ estate shall be
 6   entitled to vote separately to accept or reject the Amended Plan. A Class of Creditors shall
 7   have accepted the Amended Plan if the Amended Plan is accepted by at least two-thirds in
 8   the aggregate dollar amount and more than one-half in number of holders of the Allowed
 9   Claims of such Class that have voted to accept or reject the Amended Plan.
10          In the event that any Impaired Class of Creditors shall fail to accept the Amended
11   Plan in accordance with Bankruptcy Code §1129(a), the Debtors reserve the right to request
12   that the Bankruptcy Court confirm the Amended Plan in accordance with Bankruptcy Code
13   §1129(b).
14          E.     Means of Effectuating the Amended Plan
15                  1.    Funding for the Amended Plan
16          The Amended Plan will be funded by the following:
17                 a)     Net Cash from liquidating non-exempt stock and brokerage accounts,
18   after deducting 20% to pay estimated capital gains taxes. Such amount is anticipated to total
19   approximately $40,000;
20                 b)     Cash from the Debtors’ accounts, after reserving $25,000 for future
21   business operations. Such amount is expected to total $41,000.
22                 c)     $50,000.00 of cash contributed by the Debtors raised from
23   encumbering or liquidating otherwise exempt assets, all of which is new value from the
24   Debtors, and will be made available to make Effective Date Payments;
25
26
                                                   28
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 1                 d)      Projected disposable income from the 60 months following the
 2   Effective Date of not less than $147,379.80, or until all claims are paid in full whichever
 3   comes first. Projected disposable income is calculated and set forth in greater detail in the
 4   attached Exhibit 4.
 5           Total funding of the Plan will total $278,379.80.
 6                  2.     Non-Exempt Assets Retained by the Debtors
 7                               Asset Description                                 Approximate
 8                                                                              Liquidation Value
 9    Home Equity in excess of $150,000 homestead Exemption                              $38,365.69
10    2016 Toyota Tacoma                                                                      $0.00
11    Boat                                                                                  $500.00
12    Tools                                                                                   $0.00
13
      Checking and Savings Accounts                                                      $25,000.00
14
      Hyster Lift Truck                                                                   $6,425.00
15
      Brokerage Account                                                                            $00
16
      Southwest Airlines Stock                                                                     $00
17
      100% Interest in CE-Systems, Inc                                                        $0.00
18
      100% Interest in Arizona Turbine Technology, Inc.                                       $0.00
19
      40% Interest in EnerTech-AI Texas, LLC                                                  $0.00
20
      100% Interest in Vida Gasline, LLC                                                 $35,500.00
21
      Other Personal Property                                                               $500.00
22
                                                Total:                                 $106,290.69
23
24
25
26
                                                   29
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 1                  3.    Exempt Assets Retained by Debtors
 2                          Asset Description                                       Equity Value
 3    Home Equity-Debtors’ Residence located at:                                       $150,000.00
                  3650 W Camino Christy, Tucson, AZ
 4
      2012 MKZ-Hybrid with 123,000 miles                                                   $3,205.00
 5
      2009 Toyota Tacoma with 150,000 miles                                                $4,000.00
 6
      Household Furnishings                                                                $3,000.00
 7
      Household Electronics                                                                $1,000.00
 8
      Clothing                                                                               $500.00
 9
      Jewelry                                                                                $400.00
10
      Animals                                                                                      0.00
11
      Tools                                                                                  $12,000
12
      Retirement Accounts                                                               $510,386.56
13
                            Total:                                                      $681,286.56
14
                            (Subject to $50,000 New Value
15                          Contribution)
16
17          F.     Feasibility
18          A requirement for Confirmation is that the Amended Plan must be feasible, which

19   means that Plan Confirmation is not likely to be followed by the liquidation or the need for

20   further financial reorganization of the Debtors or any successor to the Debtors under the

21   Amended Plan, unless such liquidation or reorganization is proposed in the Amended Plan.

22          There are at least two important aspects of a feasibility analysis. The first aspect

23   considers whether the Debtors will have enough cash on hand on the Effective Date of the

24   Amended Plan to pay all the claims and expenses that are entitled to be paid on the Effective

25   Date. The second aspect considers whether the Debtors will have or earn enough cash over

26   the life of the Amended Plan to make the required Amended Plan payments. The Effective

                                                    30
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 1   Date feasibility of Debtors’ Amended Plan is discussed the Debtors’ projections attached as
 2   Exhibit 4.
 3          The Debtors contend that their financial projections are feasible in light of the
 4   financial records maintained by them prior to and during the pendency of the bankruptcy
 5   case. Debtors’ projected income is consistent with earnings when allowed to conduct
 6   business before the filing of this bankruptcy case. Projected expenses have been reduced, in
 7   an effort to improve the ability to make Amended Plan payments. As set forth in the
 8   financial projections attached hereto as Exhibit 4, the Debtors project that their post-
 9   Confirmation income will exceed their living expenses and Amended Plan payments.
10   Furthermore, as discussed above, Debtors have started a new business which may result in
11   increased income. Accordingly, the Debtors believe, on the basis of the foregoing, that the
12   Amended Plan will be feasible.
13          G.     Liquidation Analysis
14          A requirement for confirmation is that the Amended Plan meets the “Best Interest of
15   Creditors Test,” which requires the Debtors to provide a liquidation analysis. Under this test,
16   if a claimant is in an Impaired Class and that claimant does not vote to accept the Amended
17   Plan, then that claimant must receive or retain under the Amended Plan property of a value
18   not less than the amount that such holder of such claim would receive or retain if the
19   Debtors were liquidated under Chapter 7 of the Bankruptcy Code.
20          In a Chapter 7 case, the Debtors’ assets are usually sold by a Chapter 7 trustee.
21   Secured Creditors are paid first from the asset sales proceeds on which the Secured Creditor
22   has a lien. Administrative claims are paid next. Then Unsecured Creditors are paid from any
23   remaining sales proceeds, according to their rights to priority. Unsecured Creditors receive a
24   proportionate distribution based on the amount of their Allowed Claims, along with all other
25   creditors holding claims of the same priority.
26
                                                      31
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 1          A liquidation analysis detailing anticipated sale values and related expenses is
 2   attached as Exhibit 5. For the Bankruptcy Court to confirm the Amended Plan, it must find
 3   that all Creditors who do not accept the Amended Plan will receive at least as much under
 4   the Amended Plan as such holders would receive under Chapter 7 liquidation. The Debtors
 5   maintain that this requirement is met because in a liquidation, general unsecured creditors
 6   would likely receive only $94,953.57. The Debtors estimate that will pay general unsecured
 7   creditors not less than $117,935.20 over the life of the Amended Plan. This amount could
 8   significantly increase if litigation against Turbine Powered Technology and Tucson
 9   Embedded Systems is successful.
10          H.     Debtors’ Disposable Income
11
12        MONTHLY CASH INFLOWS

13        Salary David Crowe                                                      $16,666.67

14        Payroll Deductions                                                      ($7,396.34)

15        Total Individual Income                                                   $9,270.33

16        MONTHLY CASH OUTFLOWS

17        1st Mortgage Quicken Loans                                                $1,324.78

18        2nd Mortgage USSA                                                           $949.39

19        Secured Business Expenses                                                   $446.52

20        Vehicle Ownership Expense (USAA)                                            $235.31
21        Vehicle Ownership Expense (2nd Car)                                         $497.00
22        Actual Dependent Expenses                                                   $600.00
23        Food and Personal Care                                                      $646.00
24        Housekeeping Supplies                                                        $64.00
25        Apparel & Services                                                          $142.00
26        Personal Care Products and Services                                          $69.00
                                                   32
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 1         Miscellaneous                                                            $281.00
 2         Healthcare                                                               $104.00
 3         Housing Expense                                                          $549.00
 4         Vehicle Operating Costs                                                  $440.00
 5         Charitable Contributions                                                 $466.00
 6         TOTAL HOUSEHOLD EXPENSE                                                 $6,814.00
 7
 8         DEBTORS’ DISPOSABLE INCOME                                              $2,456.33
 9
10          The Debtors estimate that they will not make more than $157,379.80 in payments to

11   unsecured creditors over the life of the Amended Plan.

12          I.     Disbursing Agents
13          Debtors will serve as the Disbursing Agents without compensation and without
14   posting a bond.
15   IV.    TREATMENT OF MISCELLANEOUS ITEMS
16          A.     Executory Contracts and Unexpired Leases
17                 1.      Assumptions
18          The Debtors are not aware of any executory contracts that they are a party to.
19          On the Effective Date, any of the unexpired leases and executory contracts that have
20   not previously been assumed shall be deemed rejected, subject to the right of the Debtors to
21   seek authority to assume such contracts upon becoming aware of the same. If you are a
22   party to a lease or contract to be assumed and you object to the assumption of your
23   lease or contract, you must file and serve your objection to the Amended Plan within
24   the deadline for objecting to the Confirmation of the Amended Plan.
25
26
                                                  33
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 1                  2.    Claims Bar Date for Rejected Contracts and Leases
 2          On the Effective Date, all executory contracts not assumed shall be deemed to be
 3   rejected. The Order confirming the Amended Plan shall constitute an order approving the
 4   rejection of the leases or contracts that have not previously been rejected. If you are a party
 5   to a contract or lease to be rejected and you object to the rejection of your contract or lease,
 6   you must file and serve your objection to the Amended Plan within the deadline for
 7   objecting to the Confirmation of the Amended Plan. THE BAR DATE FOR FILING A
 8   PROOF OF CLAIM BASED ON A CLAIM ARISING FROM THE REJECTION
 9   UNDER THE PLAN OF A LEASE OR CONTRACT IS THIRTY (30) DAYS FROM
10   THE EFFECTIVE DATE OF THE PLAN. Any Claim based on the rejection of
11   executory contracts or unexpired leases will be barred if the proof of Claim is not timely
12   filed, unless the Bankruptcy Court later orders otherwise.
13          B.     Retention of Jurisdiction
14          Notwithstanding confirmation or the Effective Date having occurred, the Court shall
15   retain and have full jurisdiction as is allowed under Title 28 of the United States Code, the
16   Bankruptcy Code, or other applicable law to enforce the provisions, purposes, and intent of
17   the Amended Plan, including, without limitation, any proceedings related to:
18                 1.     Determination of the allowance, classification, or priority of claims and
19   interests, costs, attorney’s fees, and payment of post-petition interest, or objections thereto;
20                 2.     Construing, implementing, enforcing, executing, or consummating the
21   Amended Plan, the confirmation order, any other order of the Court, any document attached
22   as an exhibit to the Amended Plan or contemplated by the Amended Plan, or any other
23   matter referred to in the Amended Plan;
24                 3.     Determination of all matters that are pending before the Court in the
25   Chapter 11 Case prior to the Effective Date or that may arise after the Effective Date;
26
                                                    34
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 1                 4.     Determination of any and all applications for allowance or requests for
 2   payment of administrative claims, including, without limitation, requests for allowance and
 3   payment of compensation and expense reimbursement of professional persons;
 4                 5.     Determination of motions for the rejection, assumption, or assignment
 5   of executory contracts or unexpired leases, and determination of the allowance of any claims
 6   resulting from the rejection of executory contracts and unexpired leases;
 7                 6.     Determination of all applications, motions, adversary proceedings,
 8   contested matters, and any other litigated matters instituted prior to the closing of the
 9   Chapter 11 Case;
10                 7.     Modification of the Amended Plan pursuant to §1127 of the
11   Bankruptcy Code, prior to the Effective Date, remedy of any defect or omission in the
12   Amended Plan or confirmation order, reconciliation of any inconsistency within the
13   Amended Plan and the loan documents, so as to carry out the intent and purpose of the loan
14   documents;
15                 8.     Issuance of injunctions or taking such other actions or making such
16   other orders as may be necessary or appropriate to restrain interference with the Debtors by
17   any party with the Amended Plan or its execution or implementation by any person,
18   including the interference of the business of EnerTech-AI because of the involvement of
19   David K. Crowe for any claims or causes of action that arose Pre-Petition;
20                 9.     Issuance of such orders in aid of consummation of the Amended Plan
21   and the confirmation order, notwithstanding any otherwise applicable non-bankruptcy law,
22   with respect to any person, to the full extent authorized by the Bankruptcy Code;
23                 10.    Ordering the assumption or rejection of executory contracts or leases to
24   which the Debtors are a party, which have not previously been resolved;
25                 11.    Any determination necessary or appropriate under §505 of the
26   Bankruptcy Code or any other determination relating to priority tax claims, taxes, tax
                                                    35
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 1   refunds, tax attributes, and tax benefits affecting the Debtors, their estate, or the Property
 2   through the end of the fiscal year in which the Effective Date occurs;
 3                 12.    Entry of a final decree closing this Chapter 11 Case;
 4                 13.    Determination of such other matters, and for such other purposes, as
 5   may be provided in the confirmation order.
 6                 14.    The Bankruptcy Court shall retain jurisdiction of this case pursuant to
 7   the provisions of the Bankruptcy Code, pending the final allowance or disallowance of all
 8   Claims affected by the Amended Plan.
 9                 15.    In addition, the Bankruptcy Court shall retain jurisdiction to implement
10   the provisions of the Amended Plan in the manner as provided under Bankruptcy Code
11   §1142(a)-(b). If the Bankruptcy Court abstains from exercising, or declines to exercise
12   jurisdiction, or is otherwise without jurisdiction over any matter set forth in this Section, or
13   if Debtors or the Reorganized Debtors elect to bring an action or proceeding in any other
14   forum, then this Section shall have no effect upon and shall not control, prohibit or limit the
15   exercise of jurisdiction by any other court, public authority or commission having
16   competent jurisdiction over such matters.
17          C.     Procedures for Resolving Contested Claims
18          If Debtors disagree with the amount of any secured or unsecured claim, Debtors
19   must separately file an objection to any claim it is not accepting and the Debtors
20   reserve the right to do so. Objections to Secured Claims must be filed prior to the deadline
21   for filing objections to Confirmation. Objections to Unsecured Claims, except for those
22   Claims more specifically deemed Allowed in the Amended Plan, may be filed by
23   Reorganized Debtors or any party in interest up to and including sixty (60) days following
24   the entry of the Confirmation Order. With respect to disputed Claims, the Disbursing Agents
25   will hold in a separate interest-bearing reserve account such funds as would be necessary to
26
                                                    36
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 1   make the required distribution on the Claim as listed either in Debtors’ schedules or the filed
 2   proof(s) of claim or as otherwise estimated by the Court.
 3          D.     Notices Under the Amended Plan
 4          All notices, requests or demands with respect to the Amended Plan shall be in writing
 5   and shall be deemed to have been received within five (5) days of the date of mailing,
 6   provided they are sent by U.S. mail, postage prepaid by Proponent to the address identified
 7   in a party’s proof of claim filed in this case and to the address identified in a party’s notice
 8   of appearance filed with the Court, and if sent to the Proponent, addressed to: Isaac D.
 9   Rothschild , Mesch Clark Rothschild, 259 N. Meyer Avenue, Tucson, Arizona 85701.
10   V.     EFFECT OF CONFIRMATION OF PLAN
11          A.     Discharge
12          Under Bankruptcy Code §1141(d)(5), an individual Debtor will not be discharged
13   from any debts unless and until: (i) Debtor completes all payments under the Amended Plan
14   and obtains an order of the Bankruptcy Court granting a discharge; (ii) the Bankruptcy
15   Court grants a limited (“hardship”) discharge as allowed under Bankruptcy Code
16   §1141(d)(5)(B); or (iii) the Bankruptcy Court orders otherwise for cause. Notwithstanding
17   the other terms of this paragraph, non-dischargeable debts under Bankruptcy Code §523 will
18   not be discharged.
19          If Confirmation of the Amended Plan does not occur, the Amended Plan shall be
20   deemed null and void. In such event, nothing contained in the Amended Plan shall be
21   deemed to constitute a waiver or release of any Claims against Debtors or their estate or any
22   other Persons, or to prejudice in any manner the rights of Debtors or their estate or any
23   Person in any further proceeding involving Debtors or their estate. The provisions of the
24   Amended Plan shall be binding upon Debtors and all Creditors, regardless of whether such
25
26
                                                    37
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 1   Claims are Impaired or whether such parties accept the Amended Plan, upon Confirmation
 2   thereof.
 3          B.     Re-vesting of Property in Debtors
 4          Upon the Effective Date, all Assets of the Debtors, including litigation claims, will
 5   re-vest in the Reorganized Debtors, free and clear of all liens, claims, and encumbrances
 6   other than as expressly provided for in the Amended Plan. After the Effective Date, the
 7   Reorganized Debtors shall implement the Amended Plan as provided for therein and in the
 8   Amended Disclosure Statement. After the Effective Date, the Reorganized Debtors shall be
 9   further responsible for (a) making all payments contemplated under the Amended Plan, (b)
10   making all reporting and other filings as required by the United States Trustee, and (c)
11   closing the Chapter 11 case.
12          C.     Modification of Amended Plan
13          The Amended Plan may be modified upon application of the Debtors or corrected
14   prior or subsequent to Confirmation, or prior to consummation, after notice and hearing, as
15   provided by law including without limitation 11 U.S.C. §1127. The Debtors may modify the
16   Amended Plan at any time before Confirmation. The Bankruptcy Court, however, may
17   require a new disclosure statement or re-voting on the Amended Plan if the Debtors modify
18   the Amended Plan before Confirmation. The Debtors may also seek to modify the Amended
19   Plan at any time after Confirmation as long as: (i) the Amended Plan has not been
20   substantially consummated; and (ii) the Bankruptcy Court authorizes the proposed
21   modification after notice and a hearing.
22
            D.     Post-Confirmation Conversion/Dismissal
23          A creditor or party in interest may bring a motion to convert or dismiss the case
24   under Bankruptcy Code §1112(b), after the Amended Plan is confirmed, if there is a default
25   in performing under the Amended Plan. If the Bankruptcy Court orders the case converted
26
                                                   38
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 1   to Chapter 7 after the Amended Plan is confirmed, then all property that had been property
 2   of the Chapter 11 estate, and that has not been disbursed pursuant to the Amended Plan, will
 3   re-vest in the Chapter 7 estate, and the automatic stay will be re-imposed upon the re-vested
 4   property only to the extent that relief from stay was not previously granted by the
 5   Bankruptcy Court during this case.
 6          E.     Post-Confirmation Quarterly Fees
 7          Quarterly fees pursuant to 28 U.S.C. §1930(a)(6) continue to be payable to the office
 8   of the United States Trustee post-Confirmation until such time as the case is converted,
 9   dismissed, or closed pursuant to a final decree.
10
     DATED: August 14, 2019
11
12                                                          s/ David M. Crowe
                                                        DAVID M. CROWE
13
14
                                                            s/ Colleen M. Crowe
15                                                      COLLEEN M. CROWE
16   MESCH CLARK ROTHSCHILD

17
     By     s/Frederick J. Petersen, #19944
18
            Frederick J. Petersen
19          Isaac D. Rothschild
            Attorneys for Debtors
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 1   Notice of Electronic Filing (“NEF”)
     electronically served on the date of filing
 2   upon the registered CM/ECF Users herein
     as evidenced by the NEF.
 3
 4   Copy emailed August 14, 2019 to:

 5   Synchrony Bank                                 Turbine Powered Technology, LLC
     c/o PRA Receivables Management, LLC            c/o Its Managing Member, Ted McIntye, II
 6                                                  298 Louisiana Road, Port of West St. Mary
     PO Box 41021
     Norfolk, VA 23541                              Franklin, LA 70538
 7
     E-mail: claims@recoverycorp.com                Email: legal@marineturbine.com
 8   D.C. Panagiotis
     The Panagiotis Firm
 9   1540 W. Pinhook Rd.
     Lafayettte, LA 70503
10   Email: dan@panalaw.com
11   26H1721
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